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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


   Case No. 1:19-cv-03468-CMA-SKC

   RANDI FREYER, et al.

                 Plaintiffs,

   v.

   FRONTIER AIRLINES, INC.

                 Defendant.


         FRONTIER’S MOTION TO DISMISS UNDER RULES 12(b)(6) AND 12(b)(1)


          Under Rules 12(b)(6) and 12(b)(1) of the Federal Rules of Civil Procedure,

   Defendant Frontier Airlines, Inc. (“Frontier”) moves for partial dismissal of Plaintiffs’

   Complaint [ECF #1]. 1       The parties have conferred by telephone under CMA Civ.

   Practice Standard 7.1D, but were unable to reach agreement. Plaintiffs oppose the

   Motion. In support of the Motion, Frontier states as follows.

   I.     INTRODUCTION

          Plaintiffs in this Title VII action are four pilots who assert that Frontier

   discriminated against them and failed to accommodate their medical needs related to

   pregnancy and lactation. Among other things, they claim that Frontier should have

   provided them with paid medical leave – even though no applicable law requires it.



   1 In accordance with Rule 12(a)(4)(A) of the Federal Rules, Frontier will file a responsive

   pleading to the one remaining claim that Frontier is not moving to dismiss (described
   below) within 14 days after the Court’s ruling on the present Motion.
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   They further assert that the job-protected unpaid leave provided by Frontier (at least

   three years for Plaintiff Beck; 14 months for Plaintiffs Freyer and Zielinski; and seven

   months for Plaintiff Kiedrowski) was insufficient – even though the amount of leave

   granted was well in excess of what any applicable law requires. 2

          Plaintiffs’ 67-page Complaint, laced with inflammatory rhetoric and legal

   conclusion, is largely devoid of substance.      The vast majority of the actions that

   Plaintiffs challenge are long time-barred, some extending as far back as 2010.

   Plaintiffs’ Colorado statutory claims are preempted by federal law occupying the fields of

   aviation safety and air transportation services. Further, most of Plaintiffs’ remaining

   causes of action fail to state a claim upon which relief can be granted.

          When distilled down, Plaintiffs’ timely claims in essence relate to Plaintiff Beck’s

   and Plaintiff Freyer’s requests for breaks of up to 25 minutes every two to four hours –

   while on duty, in flight – to pump breast milk in the aircraft’s cockpit or lavatory. Their

   claims fail as a matter of law for a number of reasons, including, but not limited to the

   fact that they have not (and cannot in good faith under Rule 11) point to any other

   individuals or groups similar in their ability or inability to work who were granted the

   same accommodations. Plaintiffs’ claims should be dismissed as a matter of law.

   II.    STATEMENT OF MATERIAL FACTS

          1.     Plaintiffs are all currently employed as pilots for Frontier. ECF #1, ¶¶ 78,

   2 For instance, the Family and Medical Leave Act guarantees up to twelve weeks of

   unpaid leave. 29 U.S.C. §§ 2612(a)(1), 2614(a). Under the Americans with Disabilities
   Act, “six months of leave is generally the tipping point in terms of whether a leave of
   absence is reasonable.” Forge v. Sisters of Charity of Leavenworth, No. 18-2204-JWL,
   2019 U.S. Dist. LEXIS 152016, at *24 (D. Kan. Sep. 6, 2019).

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   134, 161, 194.

          2.      “Pilots’ schedules are determined by a bidding system that is based on

   seniority.”   ECF #1, ¶ 58; see also Exhibit A (Declaration of Bradley Lambert) and

   Exhibit 1 thereto (Agreement Between Frontier Airlines, Inc. and the Airline Pilots in the

   Service of Frontier Airlines, Inc. (“CBA”)). 3

          3.      “On May 6, 2016, Plaintiffs Freyer, Beck, Kiedrowski, and Zielinski each

   filed charges with the [Equal Employment Opportunity Commission] [“EEOC”], cross-

   filed with the Colorado Civil Rights Division (“CCRD”).” ECF #1, ¶ 227.

          4.      The parties in this case entered into a tolling agreement that tolled the

   statute of limitations for Plaintiffs’ Workplace Accommodations for Nursing Mothers Act

   (“WANMA”) claim effective May 26, 2017. ECF #1, ¶ 228.

          5.      Plaintiff Kiedrowski alleges that she was grounded when she reached her

   32nd week of pregnancy in March 2010, and her 30th week of pregnancy in June 2012.

   ECF #1, ¶¶ 195, 199-200. 4 She claims that she was willing to work a ground position,

   but does not allege that she requested one. ECF #1, ¶¶ 199 – 200.

          6.      Plaintiff Kiedrowski alleges that she was told she could not pump breast


   3 The Court may consider the CBA under Rule 12(b)(6) because it is central to Plaintiffs’

   claims concerning flight schedules, and is referenced in Plaintiffs’ Complaint. Berry v.
   Cherwell Software, Ltd. Liab. Co., Civil Action No. 17-cv-02532-CMA-MJW, 2018 U.S.
   Dist. LEXIS 142686, at *2 n.2 (D. Colo. Aug. 22, 2018) (“[A] court may . . . consider
   documents outside the Complaint that are both central to Plaintiff's claims and to which
   Plaintiff refers in her complaint.”); see also Acevedo v. Southwest Airlines Co., No. CV
   16-24 MV/LF, 2018 U.S. Dist. LEXIS 87805, at *10-11 (D.N.M. May 25, 2018) (a CBA
   may be considered even when not directly named in the complaint).
   4 Frontier assumes all factual allegations made by Plaintiffs as true only for the limited

   purpose of the Court’s consideration of this Motion, as required by Rule 12(b)(6).

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   milk while performing duties on August 6, 2013. ECF #1, ¶ 209. In September 2013,

   Frontier offered Plaintiff Kiedrowski the use of the Chief Pilot’s office for lactation, but

   she declined. ECF #1, ¶ 215. As of November 6, 2014, there was a locked lactation

   room at Denver International Airport (“DIA”). ECF #1, ¶ 166.

          7.      Plaintiff Zielinski took unpaid leave from July 2014 – November 2014.

   ECF #1, ¶ 164.

          8.      In November 2014, Plaintiff Zielinski requested a list of locations in which

   to pump and a reduced flight schedule down to 50 hours; the second request was

   granted.     ECF #1, ¶ 169.    Plaintiff Zielinski ultimately accepted the reduced flight

   schedule accommodation in 2015. ECF #1, ¶ 178.

          9.      In March 2016, Plaintiff Zielinski requested and was granted unpaid leave

   at 25 weeks of pregnancy. ECF #1, ¶ 185. Plaintiff Zielinski alleges that she was

   willing and able to work a ground position, but does not allege that she asked for one.

   ECF #1, ¶ 186.

          10.     On April 5, 2016, Plaintiff Zielinski requested and was granted full FMLA

   leave, as well as non-FMLA medical leave; she requested an extension on June 23,

   2016, which was approved, and ultimately returned to work on June 30, 2017. ECF #1,

   ¶¶ 187-189.

          11.     Plaintiff Beck was on unpaid leave from 2010 – 2013. ECF #1, ¶ 135.

   Plaintiff Beck was grounded at 28 weeks in 2014 and medically unable to fly, but alleges

   she was willing to work in a ground position. She does not allege that she requested a

   ground position. ECF #1, ¶¶ 137-38.


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         12.    Plaintiff Beck alleges that she requested an accommodation to take

   breaks in May 2015, but that Frontier did not respond. ECF #1, ¶ 135.

         13.    On July 29, 2015, Plaintiff Beck requested permission to use the aircraft

   lavatory to express breast milk in flight. ECF #1, ¶ 146-148.

         14.    “The process of pumping typically takes between 15 and 25 minutes,

   depending on the individual.” ECF #1, ¶ 30.

         15.    “[T]hose who are breastfeeding typically need to pump breast milk every

   two to three hours.” ECF #1, ¶ 29. Plaintiff Freyer requested permission to pump every

   three to four hours. ECF #1, ¶ 107.

         16.    In August 2015, Plaintiff Beck alleges that she could not access the

   lactation room at DIA, and that by December 2016 it was accessible but cluttered. She

   further alleges that in May 2016, there was a new lactation location, but that no one told

   her about it. ECF #1, ¶ 152.

         17.    Plaintiff Freyer alleges she was grounded at 32 weeks of pregnancy in

   2013. ECF #1, ¶ 79. Plaintiff Freyer alleges that she “emailed several individuals at

   Frontier, including the Chief Pilot and the Director of Training, to offer to work in a

   ground position after the 32nd week of her pregnancy. No representative from Frontier

   ever responded to her emails.” ECF #1, ¶ 81.

         18.    Plaintiff Freyer alleges that in late 2014, she reached out to the Chief

   Pilot’s Office and Human Resources to inquire about accommodations and the

   possibility of working a reduced schedule when she returned to work. No one

   responded to her inquiries.” ECF #1, ¶¶ 83-85.


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          19.    Plaintiff Freyer was grounded at 32 weeks of pregnancy in October 2015

   (in advance of her December 5, 2015 delivery), and she alleges she “would have been

   fit to fly for some period beyond the 32nd week of pregnancy.” ECF #1, ¶¶ 94 – 96.

   Plaintiff Freyer did not request a temporary ground assignment at that time because she

   thought it would be futile. ECF #1, ¶ 95.

          20.    On March 31, 2016, Plaintiff Freyer alleged that she “advise[d] Frontier of

   her need to take regular breaks because she was breastfeeding.” ECF #1, ¶ 98. She

   does not allege that she requested breaks as an accommodation at that time; instead,

   she alleges that she asked only for a medical leave of absence, which was granted:

   “Frontier subsequently responded to [Plaintiff Freyer’s] request by placing her on unpaid

   medical leave.” ECF #1, ¶¶ 98, 103.

          21.    Plaintiff Freyer made a request for accommodation on November 27, 2016

   “for regular breaks in order to express breast milk.” ECF #1, ¶ 105. Frontier responded

   on December 8, 2016 that it could not “accommodate pumping in the lav[atory] while in

   flight given the safety sensitive nature of [Plaintiff Freyer’s] position.” Id. at ¶ 106.

   However, Frontier indicated that Plaintiff Freyer would be “permitted to pump in the

   lav[atory] before takeoff and after landing, when the plane is blocked into its

   arrival/departure gate.” Id.

          22.    Plaintiff Freyer made a request for accommodation in December 2016 to

   “pump in the flight deck” (which is another name for the cockpit). ECF #1, ¶ 107. On

   December 23, 2016, Frontier once again responded that it could not accommodate the

   request to pump in the cockpit, but reiterated that Plaintiff Freyer could make use of the


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   lavatory “before takeoff and after landing, when the plane is blocked into its

   arrival/departure gate.” Id. ¶ 108.

            23.   Frontier responded to renewed requests for the same accommodations in

   March 2017 and April 2017, again reiterating Frontier’s position. ECF #1, ¶¶ 113; 115.

            24.   On March 15, 2017, Frontier offered to Plaintiff Freyer that she could “drop

   her minimum required flight time from 70 to 50 hours per monthly bid period.” ECF #1,

   ¶ 111.

            25.   Plaintiff Freyer made a request for lactation locations in outstation airports

   (those outside of Colorado) on April 20, 2016. ECF #1, ¶¶ 117-19. Plaintiff Freyer

   attempted to and/or did utilize the facilities, but alleges that she found them to be

   insufficient. ECF #1, ¶¶ 118-122.

            26.   Frontier provided a lactation room at DIA that Plaintiff Freyer utilized. ECF

   #1, ¶ 123. It was a conference room locked with a passcode. ECF #1, ¶ 123. Plaintiff

   Freyer did not know the passcode on one occasion, and it took her 15 minutes to

   access the room. ECF #1, ¶ 123.

            27.   On June 26, 2020, in accordance with Federal Aviation Act (“FAAct”)

   regulations, Frontier submitted a request to the Federal Aviation Administration (“FAA”)

   for approval to revise Frontier’s Flight Operations Manual Volume 1, to allow lactating

   pilots to express breast milk in an aircraft under certain conditions on the ground,

   including, but not limited to, when the aircraft is on the ground with the parking brake




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   set. Exhibits 2-3 to Ex. A. 5,6

               28.   Three days later, on June 29, 2020, the FAA denied Frontier’s request,

   ruling that it would “put the airline in noncompliance with 14CFR 121.391 d” (the “FAA

   Determination Letter”). Exhibit 4 to Ex. A. The FAA Determination Letter explained that

   a pilot’s departure from the cockpit would require flight attendants to “leave [their duty

   stations] to do the security detail in the flight deck while passengers are on board,”

   which flight attendants are not permitted to do for safety and security reasons. See id.

   III.        LEGAL ARGUMENT

          A.    Plaintiffs’ Claims Should Be Dismissed Under Rule 12(b)(6) as Untimely

                     1.    The Vast Majority of Plaintiffs’ Claims Are Time-Barred7

                           a)    Applicable Statute of Limitations Cutoff Dates

                                 (1)    PWFA (Claim ## 8, 11) – August 10, 2016

               Colorado’s Pregnant Workers Fairness Act (“PWFA”) did not take effect until

   August 10, 2016. See C.R.S. § 24-34-402.3; 2016 Colo. ALS 207, 2016 Colo. Ch. 207,

   5 The FAA correspondence may be considered by the Court for purposes of evaluating

   Frontier’s Rule 12(b)(1) Motion. Berry, 2018 U.S. Dist. LEXIS 142686, at *2 n.2.
   6 Frontier is required by FAAct regulations to maintain confidentiality as to the proposed

   language change itself in the Manual, and is therefore submitting the document
   containing the language to the Court under Level Restriction.
   7 The Supreme Court recently held that a plaintiff’s failure to timely file an EEOC charge

   permits the employer to raise an affirmative defense, “but does not bar a federal court
   from assuming jurisdiction over a claim.” Fort Bend Cty., Texas v. Davis, 139 S. Ct.
   1843 (2019). Frontier therefore raises its timeliness arguments under Rule 12(b)(6).
   However, in most cases – such as this one – the distinction between a jurisdictional
   requirement and an affirmative defense is immaterial, because it only arises when a
   defendant waives or forfeits the argument. Ingle v. Ieros, LLC, No. 1:18-cv-02759-LTB,
   2019 U.S. Dist. LEXIS 98961, at *6 (D. Colo. June 13, 2019). Here, Frontier is timely
   raising the argument under Rule 12(b)(6) in any event.

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   2016 Colo. HB. 1438. Any alleged discriminatory actions occurring before August 10,

   2016 are therefore time-barred.

                                (2)     CADA (Claim ## 7, 9-10, 12-13) – November 8,
                                        2015

          The Colorado Anti-Discrimination Act (“CADA”) statute of limitations period (180

   days) cuts off at November 8, 2015. “Prior to commencing a Title VII action in federal

   court in a ‘deferral state’ like Colorado, a plaintiff first must exhaust administrative

   remedies by filing a charge of discrimination with the EEOC within 300 days of the

   allegedly unlawful employment practice.” Deneffe v. Skywest, Inc., Civil Action No. 14-

   cv-00348-MEH, 2015 U.S. Dist. LEXIS 5517, at *10-13 (D. Colo. Jan. 16, 2015). “This

   administrative time limit is akin to a statute of limitations.” Id.

          CADA requires that discrimination charges be filed within “six months after the

   alleged discriminatory or unfair employment practice occurred.” Deneffe, 2015 U.S.

   Dist. LEXIS 5517, at *11 (citing C.R.S § 24-34-403). A claim is time-barred if it is not

   filed within these limits.    Id.   (regarding the same events, plaintiff’s Title VII claim

   brought within 300 days was timely, but plaintiff’s CADA claim was not).

          “Each incident of discrimination and each retaliatory adverse employment

   decision constitutes a separate actionable ‘unlawful employment practice’ for which a

   charge of discrimination must be filed.” Deneffe, 2015 U.S. Dist. LEXIS 5517, at *11

   (citing Nat'l R.R. Passenger Corp. v. Morgan, 536 U.S. 101, 114 (2002)). As such,

   “[e]ach discrete discriminatory act starts a new clock for filing charges alleging that act.

   The charge, therefore, must be filed within the 180- or 300-day time period after the

   discrete discriminatory act occurred.” Id.; Berry v. Cherwell Software, Ltd. Liab. Co.,

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  Civil Action No. 17-cv-02532-CMA-MJW, 2018 U.S. Dist. LEXIS 142686, at *3 (D. Colo.

  Aug. 22, 2018). Furthermore, “discrete discriminatory acts are not actionable if time

  barred, even when they are related to acts alleged in timely filed charges.”

  Gomez v. Sam's W., Inc., Civil Action No. 16-cv-02240-CMA-STV, 2018 U.S. Dist.

  LEXIS 120799, at *5 (D. Colo. July 19, 2018).

         These principles apply to both disparate treatment and disparate impact claims.

  Christie v. Loomis Armored US, Inc., Civil Action No. 10-cv-02011-WJM-KMT, 2013

  U.S. Dist. LEXIS 94705, at *11 (D. Colo. July 8, 2013) (“[A] charge alleging [a] disparate

  impact claim must be filed within 300 days of the offending event.”); Martinez v. Texas

  Workforce Comm'n-Civil Rights Div., No. A-11-CA-837 LY, 2013 U.S. Dist. LEXIS

  136300, at *21-22 (W.D. Tex. Sep. 24, 2013) (each time a policy allegedly creating a

  disparate impact is applied to the plaintiff, she “ha[s] 300 days to challenge the

  decision”); Briscoe v. City of New Haven, 967 F. Supp. 2d 563, 567 (D. Conn. 2013)

  (same); Chin v. Port Authority of N.Y. & N.J., 685 F.3d 135, 158 (2d Cir. 2012) (same).

         Here, Plaintiffs dual-filed their charges of discrimination with the EEOC and

  CCRD on May 6, 2016. ECF #1, ¶ 227. The applicable statute of limitations cutoff for

  their CADA claims (Claim ## 7, 9-10, 12-13) is therefore November 8, 2015, and any

  alleged discriminatory actions occurring prior to that date are time-barred.

                              (3)    Title VII (Claim ## 1-5) – July 11, 2015

         As stated above, to have an actionable Title VII claim, a plaintiff must file a

  charge of discrimination with the EEOC within 300 days of the allegedly unlawful

  employment practice. See infra. Given Plaintiffs’ dual-filing with the EEOC and CCRD


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  on May 6, 2016, the applicable statute of limitations cutoff for their Title VII claims

  (Claim ## 1-5) is therefore July 11, 2015, and any alleged discriminatory actions

  occurring prior to that date are time-barred.

                              (4)    WANMA (Claim #6) – May 26, 2015

         WANMA itself does not contain a statute of limitations, and therefore is subject to

  the general statute of limitations of two years under Colorado law. See C.R.S. § 8-13.5-

  101, et seq. (WANMA); C.R.S. § 13-80-102(1)(i) (providing for a two-year statute of

  limitations for “[a]ll other actions of every kind for which no other period of limitation is

  provided”). In this case, the parties entered into an agreement tolling the statute of

  limitations effective May 26, 2017. ECF #1, ¶ 228. The applicable statute of limitations

  cutoff for their WANMA claims (Claim #6) is therefore May 26, 2015, and any alleged

  discriminatory actions occurring prior to that date are time-barred.

                       b)    All of Plaintiff Kiedrowski’s Claims Are Time-Barred

         Plaintiff Kiedrowski alleges a series of events and actions by Frontier related to

  her pregnancies and births, all of which take place in the 2010 – 2013 era. See ECF

  #1, ¶¶ 194 – 224. None of Frontier’s actions about which she complains occurred within

  the applicable statute of limitations periods for her respective claims (the earliest of

  which – her WANMA claim – begins on May 26, 2015).                     See infra, Sections

  III(A)(1)(a)(1)-(4). Her claims (Claim ## 1-13) should therefore be dismissed.

                       c)     All of Plaintiff Zielinski’s Claims Are Time-Barred

         Plaintiff Zielinski’s claims are not based on any adverse actions within the

  applicable statute of limitations periods.        Frontier’s challenged actions related


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  specifically to her take place between July 2014 and June 2016. See ECF #1, ¶¶ 161 –

  193. None of the actions about which Plaintiff Zielinski complains occurred after August

  10, 2016, the statute of limitations cutoff for a PWFA claim. See Section III(A)(1)(a)(1).

  Her PWFA claims (Claim ## 8, 11) therefore should be dismissed.

         With respect to Plaintiff Zielinski’s Title VII and CADA claims, as stated above,

  any challenged employment actions occurring prior to July 11, 2015 and November 8,

  2015, respectively, are time-barred. See infra, Sections III(A)(1)(a)(2)-(3). Ms. Zielinski

  therefore cannot bring her Title VII or CADA claims based on her requests for

  accommodation in 2014, or for any of Frontier’s decisions related to them (e.g.,

  requests for unpaid leave; the use of a lactation room; and/or a reduced flight schedule

  (ECF #1, ¶¶ 164 - 66)).

         The only action that Frontier took with respect to Plaintiff Zielinski within the Title

  VII and CADA statute of limitations periods was to approve Plaintiff Zielinski’s requests

  for FMLA leave and extended non-FMLA medical leave, due to which she received the

  benefit of 68 weeks of job-protected leave. 8 ECF #1, ¶¶ 187 – 189 (taking leave from

  March 9, 2016 – June 30, 2017). She does not allege that she made any request for

  8 Plaintiff Zielinski alleges that she “went on leave” “[d]ue to medical conditions relating

  to pregnancy on March 9, 2016. ECF #1, ¶ 185. She does not allege that Frontier
  forced her to do so, nor does she allege that she made a request for accommodation
  that was denied. See id. Plaintiff Zielinski further alleges that she was “approved” for
  maximum FMLA and also for Non-FMLA medical leave on April 5, 2016. See id. ¶ 187.
  Once again, she does not allege that Frontier forced her to take leave – her allegation
  that the leave was “approved” shows that she requested it. Nor does Plaintiff Zielinski
  allege that she made a request for accommodation that was denied. See id. Likewise
  with her June 2016 extension of leave, she alleges that she “requested and was
  granted” the leave. Id. ¶ 189. She admits that she did not request any other form of
  accommodation. Id.

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  accommodation that Frontier rejected within the applicable statute of limitations period. 9

  Her Title VII and CADA claims (Claim ## 1-5; 7, 9-10, 12-13) should therefore be

  dismissed.

         Finally, with respect to Ms. Zielinski’s WANMA claim, she must allege events

  taking place on or after May 26, 2015 that arguably are actionable under WANMA. See

  infra, Section III(A)(1)(a)(4).   Once again, Plaintiff Zielinski’s only complained-about

  events within the WANMA statute of limitations period concern her requests for leave,

  and nothing else.     ECF #1, ¶¶ 187 – 189.       WANMA, however, concerns only an

  employer’s provision of break time and/or private lactation rooms; the statute does not

  address leaves of absence. C.R.S. § 8-13.5-104. Plaintiff Zielinski’s WANMA claim

  (Claim #6) is therefore time-barred, and should be dismissed.

                       d)     Most of Plaintiff Beck’s Claims Are Time-Barred

         Plaintiff Beck’s claims are based in large part on occurrences falling outside of

  the applicable statute of limitations periods.     Frontier’s challenged actions related

  specifically to her take place between 2010 and May 2016. See ECF #1, ¶¶ 134 - 160.

  None of the actions about which Plaintiff Beck complains occurred after August 10,

  2016, the statute of limitations cutoff for a PWFA claim. See Section III(A)(1)(a)(1). Her

  PWFA claims (Claim ## 8, 11) therefore should be dismissed.

         With respect to Plaintiff Beck’s CADA claims, as stated above, any challenged

  9  As this Court has held, “an employer's rejection of an employee’s proposed
  accommodation is a discrete act that must be the subject of a charge of discrimination
  within 300 days of the employer's rejection.” Sanchez v. City & County of Denver, No.
  1:19-cv-01307-DDD-SKC, 2019 U.S. Dist. LEXIS 191515, at *13 (D. Colo. Nov. 4,
  2019). The statute of limitations is measured from the date of rejection.

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  employment actions occurring prior to November 8, 2015 are time-barred. See infra,

  Section III(A)(1)(a)(2). Plaintiff Beck therefore cannot bring her CADA claims based on

  her requests for accommodation made between 2010 and August 2015 (ECF #1,

  ¶¶ 134 - 152)), or any of Frontier’s actions related to them. Frontier did not take any

  relevant action with respect to Plaintiff Beck after August 2015, and her CADA claims

  (Claim ## 7, 9-10, 12-13) are therefore time-barred, and should be dismissed. 10

         With respect to Plaintiff Beck’s Title VII claim, as stated above, any challenged

  employment actions occurring prior to July 11, 2015 are time-barred. See infra, Section

  III(A)(1)(a)(3). Plaintiff Beck therefore cannot bring her Title VII claims based on her

  requests for accommodation made between 2010 and June 2015 (ECF #1, ¶¶ 134 -

  145)). The only relevant action that Frontier took with respect to Plaintiff Beck within the

  Title VII statute of limitations period was to deny her request in August 2015 to use

  the aircraft lavatory as a space for expressing breast milk in flight (ECF #1, ¶¶ 146-149).

  Her Title VII claims (Claim ## 1-5) should be limited to that denial.

                       e)     Many of Plaintiff Freyer’s Claims Are Time-Barred

         Not all of Plaintiff Freyer’s claims are based on occurrences falling within the

  applicable statute of limitations periods.         Frontier’s challenged actions related

  specifically to her take place between 2013 and May 2017. See ECF #1, ¶¶ 78-133.

  With respect to Plaintiff Freyer’s PWFA claim, as stated above, any challenged

  10 Plaintiff Beck additionally alleges that Frontier purportedly failed to provide a sufficient

  lactation room at Denver International Airport, or to provide her with a list of airport
  lactation locations. ECF #1, ¶¶ 148-52. Those allegations presumably would only be
  actionable under WANMA, and Frontier acknowledges that they are timely for the
  limited purposes of that claim.

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  employment actions occurring prior to August 10, 2016 are time-barred. See infra,

  Section III(A)(1)(a)(1). Plaintiff Freyer therefore cannot bring her PFWA claim based on

  her requests for accommodation made between 2013 and July 2016, or any action by

  Frontier in that time period (ECF #1, ¶¶ 78-104).

         The only relevant action that Frontier took with respect to Plaintiff Freyer within

  the PWFA statute of limitations period was to deny her requests to pump on the flight

  deck while on duty and/or take breaks while on duty in order to express breast milk.

  Frontier denied those requests in December 2016, March 2017, and April 2017

  (ECF #1, ¶¶ 108; 113; 115). Her PWFA claims (Claim ## 8, 11) should be limited to

  those specific denials. 11

         With respect to Plaintiff Freyer’s CADA claims, as stated above, any challenged

  employment actions occurring prior to November 8, 2015 are time-barred. See infra,

  Section III(A)(1)(a)(2). Plaintiff Freyer therefore cannot bring her CADA claims based

  on her requests for accommodation made between 2010 and October 2015 (ECF #1,

  ¶¶ 78-93)), nor can she base her CADA claims on her October 2015 grounding at 32

  weeks of pregnancy. ECF #1, ¶¶ 94-96. The only relevant actions that Frontier took

  with respect to Plaintiff Freyer within the CADA statute of limitations period were the

  December 2016; March 2017; and April 2017 denials as discussed above (ECF #1, ¶¶

  108; 113; 115). Her CADA claims (Claim ## 7, 9-10, 12-13) should be limited to those

  11 Plaintiff Freyer additionally alleges that Frontier purportedly failed to provide sufficient

  lactation facilities, or to provide her with a sufficient list of airport lactation locations.
  ECF #1, ¶¶ 118-129. Those allegations presumably would only be actionable under
  WANMA, and Frontier acknowledges that they are timely for the limited purposes of that
  claim.

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  specific denials.

         With respect to Plaintiff Freyer’s Title VII claim, as stated above, any challenged

  employment actions occurring prior to July 11, 2015 are time-barred. See infra, Section

  III(A)(1)(a)(3).    The only relevant actions that Frontier took with respect to Plaintiff

  Freyer within the Title VII statute of limitations period were the December 2016; March

  2017; and April 2017 denials as discussed above (ECF #1, ¶¶ 108; 113; 115), in

  addition to her grounding at 32 weeks of pregnancy October 2015. ECF #1, ¶¶ 94-

  96. Her Title VII claims (Claim ## 1-5) should be limited to those specific discrete

  actions.

                 2.       Summary of Timely Actions and Claims

         To summarize for the Court’s reference, only the following discrete actions taken

  by Frontier are timely (with everything else being time-barred): (1) Frontier’s August

  2015 denial of Plaintiff Beck’s request “seeking official permission to use the aircraft

  lavatory as a space for expressing breast milk” in flight (timely and relevant under Title

  VII Claim ## 4-5; WANMA Claim #6); (2) Frontier’s December 2016, March 2017, and

  April 2017 denials of Plaintiff Freyer’s requests to “be permitted to pump in the flight

  deck for longer flights where pumping would not otherwise be possible for periods as

  long as four to six hours” (ECF #1, ¶ 107); and to be “permitted to take a physiological

  needs break during flight to accommodate her lactation needs” (ECF #1, ¶ 112; 114)

  (timely and relevant under PWFA Claim # 11; CADA Claim ## 12-13; Title VII Claim ##

  4-5; WANMA Claim #6); (3) Frontier’s October 2015 grounding of Plaintiff Freyer at 32

  weeks of pregnancy (ECF #1, ¶ 112) (timely and relevant under Title VII Claim ## 1-3);


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  (4) Frontier’s alleged failure to provide sufficient lactation facilities to Plaintiffs Beck

  and Freyer in 2015, 2016, and 2017, either (a) at DIA, and/or (b) in other airports

  outside of Colorado (timely and relevant under WANMA, Claim #6).

       B.    Plaintiffs’ State-Law Claims Should Be Dismissed Under Rule 12(b)(1)

                  1.    Plaintiffs’ State Law Claims Are Preempted by the FAAct 12

            As summarized above, Plaintiffs’ remaining timely claims under the PWFA,

  CADA, and/or WANMA relate solely to Plaintiff Beck’s and Plaintiff Freyer’s requests to

  take breaks and express breast milk while on duty on the aircraft, with the one

  exception of their WANMA claims related to lactation facilities at DIA and at outstation

  airports. Regarding on-aircraft requests for accommodation, however, Plaintiffs’ claims

  are preempted by the Federal Aviation Act of 1958 (the “FAAct”), 49 U.S.C. § 40103 et

  seq., because they require the factfinder to intrude upon the federally occupied field of

  aviation safety. See US Airways, Inc. v. O'Donnell, 627 F.3d 1318 (10th Cir. 2010).

            The Tenth Circuit has held that, “based on the FAA[ct]'s purpose to centralize

  aviation safety regulation and the comprehensive regulatory scheme promulgated

  pursuant to the FAA[ct], . . . federal regulation occupies the field of aviation safety to the

  exclusion of state regulations.” O'Donnell, 627 F.3d at 1326. The FAAct was enacted

  to create a “uniform and exclusive system of federal regulation” in the field of air safety.

  City of Burbank v. Lockheed Air Terminal Inc., 411 U.S. 624, 639 (1973); O'Donnell, 627


  12 Preemption arguments are analyzed under Rule 12(b)(1). Pliuskaitis v. USA
  Swimming, 720 F. App'x 481, 483-484 (10th Cir. 2018); Romero v. United States, No.
  CIV 17-0130 JB\KBM, 2018 U.S. Dist. LEXIS 42697, at *27 (D.N.M. Mar. 15, 2018);
  Morgan v. Crage, No. CIV-09-673-C, 2009 U.S. Dist. LEXIS 106761, at *2 (W.D. Okla.
  Nov. 16, 2009).

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  F.3d at 1326 (noting “[t]he magnitude and critical nature of [airspace use and air-safety

  problems]” and agreeing that it was essential that one agency of government, and one

  agency alone, be responsible for issuing safety regulations”).

         The language of the FAAct explicitly directs the Administrator of the FAA to

  promulgate regulations for the “safe flight of civil aircraft in air commerce,” and directs

  the Administrator to regulate any “other practices, methods, and procedure the

  Administrator finds necessary for safety in air commerce and national security.”

  O'Donnell, 627 F.3d at 1326-27.

         Relevant to this case, FAAct regulations extensively govern whether and to what

  extent pilots may leave their duty stations in the flight deck for any purpose, including to

  take physiological needs breaks; as well as pilots’ conduct and procedures in the flight

  deck. FAAct regulations also govern pilots’ and crew members’ safety and security

  procedures when a pilot leaves the flight deck.        See ECF #1, ¶ 69-72; 14 C.F.R.

  § 121.543 (requiring pilots to “remain at the assigned duty station with seat belt

  fastened while the aircraft is taking off or landing, and while it is en route”); 14 C.F.R.

  § 121.587 (regulations concerning the compartment door); 14 C.F.R. § 121.547

  (regulations concerning persons admitted to the flight deck); 14 C.F.R. § 121.333

  (regulations concerning a pilots’ required use of an oxygen mask when only one pilot is

  at the controls); 14 C.F.R. § 121.537 (regulations concerning careless or reckless

  conduct by a pilot that endangers the lives of passengers).

         Because of the “pervasiveness of federal safety regulations for pilots and the

  congressional goal of a uniform system of aviation safety,” Plaintiff Beck’s and Plaintiff


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  Freyer’s claims related to on-aircraft breaks and lactation locations therefore are

  preempted by the FAAact. See Ventress v. Japan Airlines, 747 F.3d 716, 719-723 (9th

  Cir. 2014) (retaliation and constructive discharge claims brought under California statute

  related to a pilot’s fitness were preempted because the FAAct regulates the medical

  fitness of airmen).

         Critically here, Plaintiffs are asking the Court to apply Colorado state law to rule

  that Frontier should have, and must, permit pilots to take regular on-duty, inflight

  physiological needs breaks of up to 25 minutes in length. See, e.g., ECF #1, ¶ 30,

  Prayer For Relief ¶¶ A, B(i). That is exactly the scenario that FAAct preemption was

  designed to avoid. 13 See, e.g., Stonecypher v. Iasco Flight Training, Inc., No. 2:17-cv-

  02409-MCE-EFB, 2018 U.S. Dist. LEXIS 158365, at *12 (E.D. Cal. Sep. 16, 2018)

  (applying preemption where plaintiff’s claims would require the court to examine

  whether conduct required by state law was a violation of FAAct regulations:

  “[W]henever the Court has to look at whether a safety threat existed, preemption

  applies”). 14

         As just one example of how the application of Colorado state law could conflict

  with federal law on this issue, and why Colorado state law is preempted: The National

  Transportation Safety Board in the matter of Joel E. Brown and Michael E. Freebairn (1

  N.T.S.B. 2041; 1972 NTSB LEXIS 9) found that the Captain and First Officer of an

  13 Tellingly, airlines such as Frontier are exempt from the provisions of the Fair Labor

  Standards Act requiring break time and lactation facilities for nursing mothers (and the
  FLSA’s break-time requirements more generally). See 29 U.S.C. § 213(b)(3).
  14 WANMA    itself specifically states that “special circumstances of public safety” is a
  consideration in the statute’s undue hardship analysis. C.R.S. § 8-13.5-103(3).

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  American Airlines flight from Hawaii to Japan violated five different FAAct regulations in

  connection with the First Officer taking 20- to 30- minute breaks to stretch his legs while

  the aircraft was in flight. Id.; see also Exhibit B (FAA Memorandum dated January 20,

  2012) (finding that the federally-regulated “physiological needs” exception “has been

  interpreted narrowly to only permit short breaks for activities such as using the restroom

  or stretching one’s limbs briefly during a long flight”) (emphasis added). 15

         Frontier fully expects that Plaintiffs will attempt to distinguish the NTSB opinion

  and FAA interpretation letter. Frontier disagrees with Plaintiffs’ position, 16 but what is

  abundantly clear is that federal law must decide the issue, not state law. Plaintiffs’

  PWFA, CADA, and WANMA claims are preempted as to on-aircraft requests for breaks

  and lactation facilities, and should be dismissed.

                2.     Plaintiffs’ State-Law Claims Are Preempted by the ADA

         Similarly, Plaintiffs’ remaining timely claims under the PWFA, CADA, and/or

  WANMA related to on-aircraft breaks and pumping in the lavatory are preempted by the



  15 The Court may consider the NTSB opinion and FAA Memorandum under Rule
  12(b)(1). Even if that were not the case, the Court may still take judicial notice of them
  and consider them under Rule 12(b)(6) “as facts which are a matter of public record.”
  Ingle v. Ieros, LLC, No. 1:18-cv-02759-LTB, 2019 U.S. Dist. LEXIS 98961, at *8 (D.
  Colo. June 13, 2019). Here, the NTSB opinion is available on Lexis, and the FAA
  Memorandum can be accessed from the FAA’s website:
  https://www.faa.gov/about/office_org/headquarters_offices/agc/practice_areas/regulatio
  ns/interpretations/Data/interps/2012/Cintron-AFS-800%20-
  %20(2012)%20Legal%20Interpretation.pdf.
  16 Indeed, in response to Frontier’s recent request to the FAA for permission to allow

  pilots to take 20-minute breaks for lactation while the aircraft is on the ground, with the
  parking brake engaged, the FAA denied the request, finding that such breaks would
  violate federal safety and security regulations. See Exs. 2-4 to Ex. A.

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  Airline Deregulation Act of 1978 (“ADA”).        The ADA was enacted after Congress

  “determin[ed] that maximum reliance on competitive market forces would best further

  efficiency, innovation, and low prices as well as variety and quality of air transportation

  services.” Scarlett v. Air Methods Corp., 922 F.3d 1053, 1057 (10th Cir. 2019) (citing

  Morales v. Trans World Airlines, Inc., 504 U.S. 374, 378 (1992)).           Per the ADA’s

  preemption provision, “a State . . . may not enact or enforce a law, regulation, or other

  provision having the force and effect of law related to a price, route, or service of an air

  carrier that may provide air transportation under this subpart.” Id.; 49 U.S.C. §

  41713(b)(1).

         The Supreme Court has “recognized that the key phrase [in § 41713(b)(1),]

  ‘related to[,]’ expresses a ‘broad pre-emptive purpose.’” Scarlett, 922 F.3d at 1061.

  Accordingly, the Court has “held that a claim ‘relates to rates, routes, or services,’ within

  the meaning of the ADA, if the claim ‘has a connection with, or reference to, airline

  rates, routes, or services.’” Id.; see also Altria Grp., Inc. v. Good, 555 U.S. 70, 85

  (2008) (commenting on the “unusual breadth” of the ADA's preemption provision)).

  Indeed, ADA preemption is not limited to statutes, such as the Colorado statutes at

  issue here; the Supreme Court has interpreted the phrase “other provision having the

  force and effect of law” to include even state common-law claims. Northwest, Inc. v.

  Ginsberg, 572 U.S. 273, 284 (2014).

         As relevant here, courts have found that the provision of an aircraft lavatory is a

  “service” within the meaning of the Act. Covino v. Spirit Airlines, Inc., 406 F. Supp. 3d

  147, 150-151 (D. Mass. 2019).        As the District of Massachusetts recently held in


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  Covino, a “service” has been defined broadly as an “anticipated provision of labor from

  one party to another,” including “matters ‘appurtenant and necessarily included with the

  contract of carriage between the passenger and the airline,’ such as ticketing, boarding,

  providing food and drink and handling baggage.” Id. (citing Tobin v. Federal Express

  Corp., 775 F.3d 448, 453-56 (1st Cir. 2014)).

          The Covino court “readily conclude[d] that providing access to an in-flight

  lavatory is a necessary service appurtenant to passenger air transportation.” Id.; see

  also Air Transp. Ass'n of Am. v. Cuomo, 520 F.3d 218, 222 (2d Cir. 2008) (“[W]e have

  little difficulty concluding that requiring airlines to provide food, water, electricity, and

  restrooms to passengers during lengthy ground delays relates to the service of an air

  carrier.”).

          Here, Plaintiffs’ remaining timely claims under the PWFA, CADA, and WANMA

  claims clearly “relate to” Frontier’s provision of a lavatory to customers within the broad

  meaning of the Act, given that Plaintiffs sought permission to utilize the lavatory for up

  to 25 minutes at a time during flight. Plaintiffs’ state-law claims, to the extent that they

  are related to the use of breaks in aircraft lavatories, are therefore preempted. See

  Covino, 406 F. Supp. 3d at 150-151 (the plaintiff’s claim was “inextricably related to

  Spirit’s provision of passenger services. The denial of access to the in-flight restroom

  [was] at the heart of [her] claim”).

                3.      Plaintiffs’ WANMA Claims Have No Extraterritorial Application

          Plaintiffs appear to base their WANMA claims, at least in part, on Frontier’s

  purported failure to provide sufficient lactation facilitates outside of the state of


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  Colorado. See, e.g., ECF #1, ¶ 68 (alleging that “outstations” at other airports had

  lactation rooms that “proved in large part to be unusable or inaccessible”). Plaintiffs’

  WANMA claims must be dismissed, however, as to any lactation locations outside of

  Colorado, because WANMA has no application extraterritorially.

          “It is well settled that the legislative authority of every state must spend its force

  within the territorial limits of the state, and that a law does not have any effect of its own

  force beyond the limits of the sovereignty from which its authority is derived.” Donahue

  v. Warner Bros. Pictures, Inc., 194 F.2d 6, 23-24 (10th Cir. 1952).               Therefore,

  “[l]egislation is presumptively territorial and confined to limits over which the law-making

  power has jurisdiction.” Id.

          Here, WANMA does not “expressly provide for extraterritorial application,” and

  “[i]n the absence of any extraterritorial phraseology in [the] Act, it cannot be construed

  to have an extraterritorial effect.” Peerless Ins. Co. v. Clark, 29 Colo. App. 436, 440

  (1971); accord Sanchez v. Q'Max Solutions, Inc., Civil Action No. 17-cv-01382-CMA-

  KLM, 2018 U.S. Dist. LEXIS 31486, at *9 (D. Colo. Feb. 27, 2018) (finding that a

  request for out-of-state application “would run afoul of the well-established presumption

  against the extraterritorial application of state laws”); Friedman v. Dollar Thrifty

  Automotive Group, Inc., Civil Action No. 12-cv-02432-WYD-KMT, 2013 U.S. Dist. LEXIS

  140691, at *21-22 (D. Colo. Sep. 27, 2013) (no extraterritorial application of Colorado

  state statutes where the statutes did not “contain express language that they apply

  extraterritorially”).




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       C.    Plaintiffs’ Remaining Allegations Largely Fail to State a Claim

            Analyzing Plaintiffs’ remaining (timely) claims, the vast majority of them fail under

  Rule 12(b)(6) scrutiny. Only one claim is not subject to dismissal at this stage in the

  proceedings: Plaintiff Freyer’s Title VII Claim (Claim #1) based on Frontier’s 32-week

  grounding rule. 17     That claim will turn on a well-recognized bona fide occupational

  qualification defense based on safety, which likely will involve extensive expert

  testimony. 18,19 All other claims should be dismissed for the reasons stated above, and

  those described in more detail below.


  17  Claim #2 is pleaded as a disparate impact claim, and is not cognizable for the
  reasons discussed below. Claim #3, while referencing the 32-week rule in passing, is a
  failure-to-accommodate claim based on the rejection of other accommodation requests,
  not based on Plaintiff Freyer’s grounding as an adverse action.
  18 See, e.g., Johnson Controls, 499 U.S. 187, 204 (1991) (recognizing non-pregnancy

  as a BFOQ under a “safety exception”); Richards v. City of Topeka, 173 F.3d 1247,
  1252 (10th Cir. 1999) (“Under the PDA, the City can raise a BFOQ as an affirmative
  defense.”); Harriss v. Pan American World Airways, Inc., 649 F. 2d 670 (9th Cir. 1980)
  (Pan Am’s “Stop Policy” as to pregnant flight attendants, while constituting prima facie
  discrimination, was justified as a BFOQ based on safety considerations); Burwell v.
  Eastern Air Lines, Inc., 633 F. 2d 361 (4th Cir. 1980) (finding that grounding pregnant
  flight attendants at 13 weeks of pregnancy would not be considered a safety BFOQ, but
  that grounding at 28 weeks certainly would); Condit v. United Air Lines, Inc., 558 F. 2d
  1176 (4th Cir. 1977) (grounding pregnant flight attendants was a BFOQ because
  pregnancy could incapacitate a stewardess in ways that might threaten the safe
  operation of aircraft); In re National Airlines, Inc., 434 F. Supp. 249 (SD Fla. 1977)
  (reviewing comprehensive medical data and expert testimony, and concluding that –
  while grounding pregnant flight attendants in the first trimester was not a BFOQ –
  grounding pregnant flight attendants in their third trimester most definitely was a BFOQ:
  [T]he court must conclude that as a blanket rule National may require its flight
  attendants not to fly during the final trimester of pregnancy”).
  19 Frontier cannot help but note in passing that Plaintiffs Complaint contains references

  to seven pregnancies. Out of those seven, over half of them – four out of seven –
  resulted in medical complications grounding the pilot prior to 32 weeks of pregnancy.
  See ECF #1, ¶¶ 137 (28 Weeks); 162 (30 Weeks); 185 (25 Weeks); 199 (30 Weeks);
  and 79, 93, 195 (32 Weeks).

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         “Under Rule 12(b)(6), the Court may dismiss a complaint for failure to state a

  claim if it appears beyond a doubt that the plaintiff can plead no set of facts in support of

  his claim that entitle him to relief.” Rattler v. Garside, Civil Action No. 19-cv-01119-

  CMA-KLM, 2019 U.S. Dist. LEXIS 217200, at *4-5 (D. Colo. Dec. 18, 2019). “Dismissal

  under Rule 12(b)(6) may also be based on the lack of a cognizable legal theory.” Id.

         While “all well-pleaded allegations in the plaintiff's complaint [are taken] as true

  and construe[d] in the light most favorable to the plaintiff, a litigant’s “conclusory

  allegations without supporting factual averments are insufficient to state a claim upon

  which relief can be based.” Rattler, 2019 U.S. Dist. LEXIS 217200, at *4-5 (citing Bell

  Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). “A court may not assume that plaintiff

  can prove facts that have not been alleged, or that a defendant has violated laws in

  ways that a plaintiff has not alleged.” Id.

         To withstand a Rule 12(b)(6) motion to dismiss, “a complaint must contain

  sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on

  its face.’” Grays v. Granicus, LLC, Civil Action No. 18-cv-02271-CMA-NRN, 2019 U.S.

  Dist. LEXIS 66196, at *9-10 (D. Colo. Apr. 18, 2019) (citing Ashcroft v. Iqbal, 556 U.S.

  662 (2009)). A plaintiff may not rely on mere labels or conclusions, “and a formulaic

  recitation of the elements of a cause of action will not do.” Grays, 2019 U.S. Dist.

  LEXIS 66196, at *9-10.      For the reasons discussed below, Plaintiffs’ claims do not

  establish that they are entitled to relief under the relevant law, and their claims should

  be dismissed.




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                1.     Plaintiffs’ Remaining (Timely) Title VII and CADA Disparate
                       Treatment Claims Should Be Dismissed

         Setting the 32-week rule aside, Plaintiffs’ remaining timely Title VII/CADA claims

  are based on Frontier’s denials of Plaintiff Beck’s and Plaintiff Freyer’s requests

  “seeking official permission to use the aircraft lavatory as a space for expressing breast

  milk” in flight; to “be permitted to pump in the flight deck for longer flights where

  pumping would not otherwise be possible for periods as long as four to six hours”; and

  to be “permitted to take a physiological needs break during flight to accommodate []

  lactation needs.” ECF #1, ¶¶ 13, 108, 113, 115. 20 Plaintiffs’ claims related to these

  requests fail to state a claim as a matter of law on the face of the Complaint.

         Under Title VII, it is unlawful “to discharge any individual, or otherwise

  discriminate against any individual with respect to his compensation, terms, conditions,

  or privileges of employment, because of such individual's race, color, religion, sex, or

  national origin.” 42 U.S.C. § 2000e-2(a)(1). Further, Title VII provides that “[t]he terms

  ‘because of sex’ or ‘on the basis of sex’ include, but are not limited to, because of or on

  the basis of pregnancy, childbirth, or related medical conditions.” 42 U.S.C. § 2000e(k).

  A plaintiff may prove a Title VII violation through either direct or circumstantial evidence.

  See Furr v. AT & T Techs., Inc., 824 F.2d 1537, 1548-49 (10th Cir. 1987).



  20 Plaintiffs’ timely breaks claims as explicitly pleaded relate to inflight breaks only.
                                                                                        That
  said, if and to the extent that they were based on breaks on the ground in between
  flights, the ability to take breaks is subject to the seniority bidding rights of the CBA,
  which governs pilot flight schedules. See ECF #1, ¶ 58; Ex. 1 to Ex. A. Under well-
  settled binding precedent, a request to violate collectively-bargained for seniority rights
  is unreasonable as a matter of law. See US Airways, Inc. v. Barnett, 535 U.S. 391, 403-
  04 (2002); Sanchez v. United States DOE, 870 F.3d 1185, 1200 (10th Cir. 2017).

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         A plaintiff alleging that the denial of an accommodation constituted disparate

  treatment under the Pregnancy Discrimination Act “may make out a prima facie case by

  showing . . . that she belongs to the protected class, that she sought accommodation,

  that the employer did not accommodate her, and that the employer did accommodate

  others ‘similar in their ability or inability to work.’” Young v. United Parcel Service, Inc.,

  135 S.Ct. 1338, 1345, 191 L. Ed. 2d 279 (2015). 21

         The first two elements are not in dispute – Plaintiff Beck and Plaintiff Freyer are

  part of a protected class, and requested the accommodations of in-flight physiological

  needs breaks and permission to pump in the lavatory and in the flight deck. The third

  element, however, is not satisfied. Plaintiffs’ only basis for asserting that they were

  treated differently from others “similar in their ability or inability to work” is as follows:

  “Frontier has even gone so far as to prohibit pilots from pumping on the job, even

  though pilots are permitted to take breaks as needed to address other physiological

  needs such as going to the bathroom or stretching – essentially singling out the need to

  express breast milk as the sole physiological need that pilots are categorically banned

  from addressing while in flight.”     ECF #1, ¶ 6; see also id. ¶ 265 (“Defendant has

  maintained a policy, pattern, or practice of permitting pilots to take physiological needs

  21 The Title VII legal framework and elements are the same for CADA.    Lawley v. Dep't
  of Higher Educ., 36 P.3d 1239, 1247 (Colo. 2001) (the standard for a discrimination
  claim under the CADA is the same as Title VII); Waters v. AXL Charter Sch., No. 12-cv-
  01384-LTB, 2013 U.S. Dist. LEXIS 31643, at *5 (D. Colo. Mar. 7, 2013) (“Under both
  Title VII and the CADA, the McDonnell-Douglas burden-shifting test applies to
  discrimination claims based on non-direct or circumstantial evidence.”); Rios v. Nexion
  Health at Cherry Creek, Civil Action No. 17-cv-03062-MSK-NYW, 2019 U.S. Dist. LEXIS
  142458, at *9 (D. Colo. Aug. 21, 2019) (“[C]laims for sex and pregnancy discrimination
  under state and federal law are subject to the same analysis.”).

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  breaks for purposes of addressing all other physiological needs.”).

        Plaintiffs’ logic is flawed, and their conclusory allegation that Frontier allows pilots

  to take physiological needs breaks to address “all other physiological needs” is not

  sufficient to satisfy their Rule 12(b)(6) burden. Instead, the legal element that they must

  plead and prove requires Plaintiffs to identify non-lactating comparators “similar in their

  ability or inability to work” who were granted the accommodation that Plaintiffs were

  denied. Young, 135 S.Ct. 1338, 1345; see also Lacount v. South Lewis SH OPCO, Ltd.

  Liab. Co., No. 16-CV-0545-CVE-TLW, 2017 U.S. Dist. LEXIS 69128, at *10-16 (N.D.

  Okla. May 5, 2017) (dismissing pregnancy discrimination claim under Rule 12(b)(6)

  where plaintiff alleged that defendant accommodated workers with conditions other than

  pregnancy, but did not explain what physical or mental impairments the employees had

  or how the employees were accommodated).

        Here, Plaintiffs by their own admission were restricted in their ability to work by a

  medical need to take a break typically “every two to three hours” (and in Plaintiff

  Freyer’s case, every three to four hours), “between 15 and 25 minutes” each time. ECF

  #1, ¶¶ 29 – 30, 87, 107, 143. Plaintiffs have pointed to no other comparator individuals

  or groups in the Complaint – nor can they in good faith – who had the same level of

  medical restrictions (or even close), and who requested and were granted permission to

  take breaks of the length and frequency that Plaintiffs requested in this case. See, e.g.,

  Clark v. City of Tucson, No. CV-14-02543-TUC-CKJ, 2020 U.S. Dist. LEXIS 32644, at

  *39-42 (D. Ariz. Feb. 24, 2020) (three male comparators identified by plaintiff were not

  similarly-situated because they did not have “similarly limiting medical conditions”)


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  (citing EEOC Guidance No. 915.003). Plaintiffs’ Title VII and CADA disparate treatment

  claims should be dismissed for failure to state a claim.

                2.     Plaintiffs’ Remaining (Timely) Title VII and CADA Disparate
                       Impact Claims Should Be Dismissed

         Plaintiffs’ disparate impact claims also should be dismissed. “Disparate impact

  claims, as recognized in the Title VII context, challenge ‘employment practices that are

  facially neutral in their treatment of different groups but that in fact fall more harshly on

  one group than another and cannot be justified by business necessity.’” Ellis v. United

  Airlines, Inc., 73 F.3d 999, 1006 (10th Cir. 1996). “To establish a prima facie case of

  disparate impact discrimination, Plaintiff must prove a ‘specific identifiable employment

  practice or policy caused a significant disparate impact on a protected group.’” Chavez

  v. Coors Brewing Co., 176 F.3d 488 [published in full-text format at 1999 U.S. App.

  LEXIS 5300] at *3 (10th Cir. 1999). Here, Plaintiffs do not identify any facially neutral

  policies or practices – instead, they allege and assert that Frontier’s policies and

  practices intentionally single out and discriminate against pregnant and lactating pilots.

  Plaintiffs’ disparate impact claims should be dismissed.

                3.   Plaintiffs’ Remaining (Timely) WANMA Claim Should Be
                     Dismissed

         As discussed above, Plaintiffs’ WANMA claim with respect to on-aircraft breaks

  and lactation facilities is preempted by federal law.          Because WANMA has no

  extraterritorial application, the only remaining timely claim under WANMA is related to

  Plaintiff Beck’s and Plaintiff’s Freyer’s allegations concerning the lactation room at DIA.

  Under WANMA, an employer is required to “make reasonable efforts to provide a room


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  or other location in close proximity to the work area, other than a toilet stall, where an

  employee can express breast milk in privacy.”           C.R.S. §8-13.5-104(1)-(2).       Here,

  Plaintiffs do not dispute that Frontier – at all times during the statute of limitations period

  – provided a passcode-protected, lockable, private lactation room for Plaintiffs’ use at

  DIA. See ECF ¶¶ 123, 152, 166. Plaintiffs do not allege that the room was unsanitary.

  Instead, they complain that the location of the room was inconvenient, and that they

  were unable to access it on two occasions. See id.

         Plaintiffs’ allegations fail to state a claim. They concede that Frontier actually did

  “provide a room . . . other than a toilet stall where” Plaintiffs could “express breast milk

  in privacy.” The statute requires that the room be “in close proximity to the work area,”

  but pilots do not have a static “work area.” DIA itself is, in essence, the “work area.”

  Nothing in the statute suggests that Frontier was required to provide a separate

  lactation room next to every gate, or even on every concourse, out of which Frontier

  flies. Nor is material that the room was inaccessible on two occasions. Here, the

  statute only requires that an employer make “reasonable” efforts, not perfect efforts.

  Plaintiffs’ WANMA claim should be dismissed. See, e.g., Tolene v. T-Mobile, USA, Inc.,

  178 F. Supp. 3d 674, 685-686 (N.D. Ill. 2016) (holding that the employer had made

  “reasonable efforts” as a matter of law under Illinois’ lactation accommodation statute).

  IV.    CONCLUSION

         Frontier respectfully requests that Plaintiffs’ claims be dismissed in their entirety,

  with the one exception of Plaintiff Freyer’s First Cause of Action (as to Plaintiff Freyer

  only), and limited to her grounding in October 2015 at 32 weeks of pregnancy.


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       Dated this 10th day of August, 2020
                                                  Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

           I hereby certify that on the 10th day of August, 2020, I electronically filed and

  served FRONTIER’S MOTION TO DISMISS UNDER RULE 12(b)(6) AND 12(b)(1) with

  the Clerk of Court using the CM/ECF system, which will send notification of such filing to

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